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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
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11     GARY PALMER,                               Case No. 2:05-cv-1935 MCE GGH
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             Plaintiff,
13                                                Order Re: Request for Dismissal of
                                                  Several Defendants
14           vs.
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       CHELSEA FINANCING
16     PARNTERSHIP, L.P. et al.,
17
            Defendants.
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       _______________________________/
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             IT IS HEREBY ORDERED that plaintiff’s complaint is dismissed with
21     prejudice as to as to the following defendants only:
22     1.    Big Dog USA, Inc. dba Big Dog Sportswear #209;
23     2.    Pacific Brands Retail Group I, Inc. dba Balboa Beach Company;
24     3.    Retail Brand Alliance, Inc. dba Brooks Brothers;
25     4.    The William Carter Company dba Carter’s Childrenwear #659;
26     5.    Retail Brand Alliance, Inc. dba Casual Corner and Petite Sophisticate
27           Outlet;
28     6.    The Dress Barn, Inc. dba Dressbarn #2860;
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                          7.    Gap (Texas) L.P. dba Gap;
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                          8.    Phillips-Van Heusen Corporation dba Geoffrey Beene #18;
                    3     9.    Bear Creek Stores, Inc. dba Harry and David;
                    4     10.   Hush Puppies Retail, Inc. dba Hush Puppies & Family #614;
                    5     11.   The IZOD Corporation dba IZOD #727;
                    6     12.   Cole Sfc, LLC dba Kenneth Cole;
                    7     13.   Housewares Stores of California, Inc. dba Le Gourmet Chef;
                    8     14.   Too, Inc. dba Limited Too;
                    9     15.   Nautica Retail USA, Inc. dba Nautica;
                10        16.   Oshkosh B’ Gosh Retail, Inc. dba Oshkosh B’ Gosh #135;
                11        17.   Magifque Perfume and Cosmetics, Inc. dba Perfumania;
                12        18.   Sketcher USA, Inc. dba Sketcher’s USA #1215;

                13        19.   PA Acquisition Corp. dba The Paper Outlet;

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                          20.   Phillips-Van Heusen Corporation dba Van Heusen #235;
                          21.   PVH CK Stores, Inc. dba Calvin Klein;
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                          22.   Bebe Stores, Inc. dba Bebe Store #719;
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                          23.   Pacific Sunwear Stores, Corp. dba Pacific Sunwear;
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                          24.   K B Toy of California, Inc. dba K B Toy Liquidators #4280.
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                19        Dated: January 20, 2006
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                                                               _________________________________
                                                               MORRISON C. ENGLAND, JR
                23                                             UNITED STATES DISTRICT JUDGE
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Law Offices of
Lynn Hubbard, III
